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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

                      v.                                  No. 22-cr-15 (APM)

  EDWARD VALLEJO,
                                Defendant.


                                    NOTICE OF JOINDER

       Mr. Vallejo, through counsel, hereby gives notice that he joins the following documents filed

by counsel for co-defendants:

       1. ECF 478 – Defendant Roberto Minuta’s Motion for a New Trial Pursuant to
          Fed.R.Crim.Proc Rule 33;

       2. ECF 479 – Defendant Roberto Minuta’s Motion for a Judgment of Acquittal Pursuant
          to Fed.R.Crim.Proc. Rule 29;

       3. ECF 482 – Defendant Roberto Minuta’s Motion to Continue Sentencing Date

       4. ECF 494 – Defendant Elmer Stewart Rhodes’s Motion to Continue Sentencing Date

April 2, 2023                                        Respectfully submitted,

                                                     /s/ Matthew J. Peed .
                                                     Matthew J. Peed (D.C. Bar No. 503328)
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                                                     Washington, D.C. 20006
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                                                     Counsel for Defendant Edward Vallejo
